           Case 4:11-cv-00608-DPM Document 87 Filed 09/16/13 Page 1 of 5




                 IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                          WESTERN DIVISION


PATRICIA HOPSON, as Executrix of the
Estate of Dr. Charles Hopson                                        PLAINTIFF

v.                            No. 4:11-cv-608-DPM

PULASKI COUNTY SPECIAL SCHOOL
DISTRICT                                                         DEFENDANT

                                        ORDER

         Dr. Hopson's estate has one claim left: promissory estoppel. NQ 45 & 74.

Arguing various reasons, the Pulaski County Special School District seeks

judgment as a matter of law on that claim. The parties agree on the claim's

elements. E.g., Van Dyke v. Glover, 326 Ark. 736, 744-45, 934 S.W.2d 204, 209

(1996); see generally HOWARD W. BRILL, LAW OF DAMAGES§ 17:14 (5th ed.

2004).     Whether Dr. Hopson relied to his detriment on assurances that no

State takeover was in the offing, and on a promise that he was entitled to a

buyout from PCSSD if discharged without cause in any event, must be

resolved by the fact finder at trial.

      1.    PCSSD is mistaken in its threshold argument that the Estate's

promissory estoppel claim runs only against the State defendants who've

been dismissed. The amended and substituted complaint, it is true, speaks
        Case 4:11-cv-00608-DPM Document 87 Filed 09/16/13 Page 2 of 5




mostly about an alleged assurance from Dr. Kimbrell as the basis for this

claim. NQ 2 at 13-15. But the claim incorporated "all relevant information

stated herein before." NQ 2 at 13,   ~54.   And that information included the

attached and incorporated contract with PCSSD containing the buyout

provision, NQ 2 at 23-41, as well as all the background circumstances. This

Court held a year ago that Dr. Hopson had pleaded a promissory estoppel

claim against the District. NQ 45 at 18-19. The Court reaffirmed that ruling on

the substitution issues resulting from Dr. Hopson's passing. NQ 74 at 3, 6. The

promissory estoppel claim againstPCSSD is before the Court for adjudication.

      2. Genuine issues of material fact exist about the claim. Taking the

record in the light most favorable to the Estate, Ewald v. Wal-Mart Stores, Inc.,

139 F.3d 619, 621 (8th Cir. 1998), Dr. Kimbrell and various PCSSD board

members assured Dr. Hopson that no State takeover was planned or likely.

NQ 2 at 6-7; NQ 83-1 at 1-4. Whether these assurances amounted to an

actionable promise is a question of fact. Van Dyke, 326 Ark. at 745,934 S.W.2d

at 209. There is also the PCSSD /Hopson contract, which promised the buyout

so long as no cause existed for any termination. NQ 2 at 30-33. The contract

was discharged based on impossibility. NQ 45 at 17-18. But the promised



                                      -2-
         Case 4:11-cv-00608-DPM Document 87 Filed 09/16/13 Page 3 of 5




buyout remains a promise from PCSSD. NQ 83-1 at 2. The District's integration

argument is wide of the mark because the Estate has no remaining contract

claim. The promise of a buyout, though, is part of the Estate's equitable claim.

Questions of fact likewise exist on Dr. Hopson's alleged reliance- its

reasonableness in the circumstances, whether detriment resulted, and the

particulars of the alleged harm. The fact finder must decide whether the

affiants are right about Dr. Hopson's unwillingness to take the job absent

assurances that no takeover was imminent and the promised buyout for

insurance. Whether cause existed for the termination also remains in dispute.

This contested point goes to the justice or injustice of granting any relief.

Reynolds v. Texarkana Construction Co., 237 Ark. 583, 584-85, 374 S.W.2d 818,

819-20 (1964).

      3. The Court rejects PCSSD's further reliance on the Smith case. The

Court of Appeals' decision is solid as far as it goes, but does not control on the

remaining claim. The contract there contained no buyout clause. More

importantly, former superintendent Smith made no promissory estoppel

claim. He sought recovery only for breach of contract. Smith v. Decatur School

District, 2011 Ark. App. 126, *3.



                                       -3-
        Case 4:11-cv-00608-DPM Document 87 Filed 09/16/13 Page 4 of 5




      PCSSD' s impossibility defense is solid at law to eliminate the District's

obligation to perform the contract. NQ 45 at 17-18. This defense does not hold

in equity. The discharge of the parties' contract by impossibility based on the

State's statutory takeover is one of the premises of Dr. Hopson having an

equitable claim off the contract. This is made plain by the unjust-enrichment

cases wrestling with the contract claim/ equitable claim issue. Friends of

Children, Inc. v. Marcus,46 Ark. App. 57, 61, 876 S.W.2d 603, 605 (1994)(listing

examples); United States v. Applied Pharmacy Consultants, Inc., 182 F.3d 603,

605-09 (discussing examples, explaining the reason for the rule, and applying

Arkansas law); QHG of Springdale, Inc. v. Archer, 2009 Ark. App. 692, *9-*11,

373 S.W.3d 318, 324-25 (same).        The reason that eliminated a party's

contractual rights at law, and opened the possibility of a claim in equity, does

not simultaneously foreclose that equitable claim.

      4. This case is set for a jury trial starting November 12th. NQ 47. As the

Court noted last year when making this setting, whether the claim against

PCSSD should be tried by a jury or the Court is an open question. NQ 46. (The

Court misspoke then: PCSSD requested a jury trial; Dr. Hopson did not.

Compare NQ 46, with NQ 2 and NQ 12 at 6). The Court needs briefing on this

murky point. AMI 2444, Comment. The parties should cover it in detail in

                                      -4-
        Case 4:11-cv-00608-DPM Document 87 Filed 09/16/13 Page 5 of 5




their trial briefs due on 15 October 2013.

                                     ***

      PCSSD' s motion for summary judgment, NQ 78, is denied.

      So Ordered.




                                    D.P. Marshall Jr.
                                    United States District Judge




                                      -5-
